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A Limited Liability Partnership -
Including Professional Corporations

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Attorneys for Allstate Insurance Company

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
ALAN BAKER, ‘Case No. 2:19-cv-08024-ODW-JC
LINDA B. OLIVER, _
ALLSTATE’S MEMORANDUM OF
Plaintiffs, COSTS AND FEES IN SUPPORT
OF ITS EX PARTE APPLICATION
Vv.
Hon. Otis D. Wright I
ALLSTATE INSURANCE
COMPANY,
EDWARD CARRASCO, and DOES 1 |°
through 10, inclusive, [Com mp laint Filed: August 13, 2019]
‘ial D ate: None set

Defendants.

 

 

Pursuant to the Court’s Minute Order dated December 19, 2019 (DKT 37),
Defendant Allstate Insurance Company submits the following memorandum of costs
and fees incurred in connection with its application for ex parte relief, on which the
Court held a hearing on December 16, 2019:

Allstate has incurred costs and fees of at least $41,748 in connection with its
ex parte application, which was necessitated by Christopher Hook’s numerous
abusive and threatening emails.

This amount consists of at least 16.8 hours of attorney time by Peter H. Klee

at a rate of $490 per hour, at least 46.8 hours of attorney time by Marc J. Feldman at

-|- Case No. 2:19-cv-08024-ODW-JC
SMRH:4823-1269-5727.1 MEMORANDUM OF COSTS RE EX PARTE

 
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a rate of $490 per hour, and at least 25.2 hours of attorney time by Jack Burns at a
rate of $420 per hour.

This includes all of the three attorneys’ time spent reviewing and evaluating
Mr. Hook’s numerous emails, researching and preparing the initial ex parte
application and supporting documents, reviewing and evaluating Mr. Hook’s
opposition, researching and preparing Allstate’s reply papers, traveling to and
attending the hearing (Mr. Klee and Mr. Feldman only), and preparing the Order
requested by the Court.

A detailed billing sheet showing the time and fees incurred (with other time

and confidential information redacted) is attached as Exhibit 1.

Dated: December 31, 2019
SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

By s/ Peter H. Klee
PETER H. KLEE
MARC J. FELDMAN
Attorneys for Allstate Insurance Company

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SMRH:4823-1269-5727.1 MEMORANDUM OF COSTS RE EX PARTE

 
